Case 1:20-cv-03791-JEB Document 12 Filed 01/05/21 Page 1of4

AFFIDAVIT OF PROCESS SERVER

United States District Court for the District of Columbia

Wisconsin Voters Alliance, et al Attorney: Erick G. Kaardal
Plaintiff(s), Mohrman, Kaardai & Erickson, P.A.
VS. 150 South 5th St., #3100

Minneapolis MN 55402

WUUNTAMN ATAU

Defendant(s). #260919

Vice President Michael Richard Pence, in his official
capacity as President of the United States Senate, et al

 

 

 

 

Case Number: 1:20-cv-03791-JEB

Legal documents received by Twin City Process Service, LLC on 12/23/2020 at 2:49 PM to be served upon Vice
President Michael Richard Pence, in his official capacity as President of the United States Senate, by serving
United States Attorney for the District of Columbia, at 501 3rd St., NW, 4th FL, Washington, DC, 20001

{. Cora Heishman, swear and affirm that on December 23, 2020 at 4:25 PM, I did the following:

Served Vice President Michael Richard Pence, in his official capacity as President of the United States Senate, by
serving United States Attorney for the District of Columbia, a government agency by delivering a conformed copy
of this Letter dated December 22, 2020; Summons in a Civil Action; Motion; Notice of Hearing; Declaration of
Erick G. Kaardal; Order (Filed 12-22-2020); Second Declaration of Erick G. Kaardal; Order (Filed 12-22-2020);
Civil Cover Sheet; Plaintiffs’ Memorandum in Support of Motion for Preliminary Injunctive Relief; Complaint;
Flash Drive Containing Declaration Appendix to Reginald Rowan as Authorized Agent & Legal Executive
Specialist at 501 3rd St., NW, 4th FI. , Washington, DC 20001 of the government agency and informing that person
of the contents of the documents.

Description of Person Accepting Service:
Sex: Male Age: 30-50 Height: Over 6ft Weight: Over 200 Ibs Skin Color: Light Brown Hair Color: Black

Supplemental Data Appropriate to this Service:

| declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

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Cora Heishman
Process Server

 

Twin City Process Service, LLC
5416 Jefferson Ct.

St. Paul MN 55110
651-214-8312

diunda @ yahoo.com

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Case 1:20-cv-03791-JEB Document 12 Filed 01/05/21 Page 2 of 4

AFFIDAVIT OF PROCESS SERVER

United States District Court for the District of Columbia

Wisconsin Voters Alliance, et al Attorney: Erick G. Kaardal
Plaintiff(s), Mohrman, Kaardal & Erickson, P.A.
VS. 150 South Sth St., #3100

Minneapolis MN 55402
Vice President Michael Richard Pence, in his official

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capacity as President of the United States Senate, et al | | i] | | | | | | | ll ll

Defendant(s). #268920«

 

 

 

 

 

 

 

 

 

Case Number: 1:20-cv-03791-JEB

Legal documents received by Twin City Process Service, LLC on 12/23/2020 at 2:52 PM to be served upon US,
House of Representatives, by serving United States Attorney for the District of Columbia, at 501 3rd St., NW, 4th
FL, Washington, DC, 20001

I, Cora Heishman, swear and affirm that on December 23, 2020 at 4:25 PM, I did the following:

Served U.S. House of Representatives, by serving United States Attorney for the District of Columbia, a
government agency by delivering a conformed copy of this Letter dated December 22, 2020; Summons in a Civil
Action; Motion; Notice of Hearing; Declaration of Erick G. Kaardal; Order (Filed 12-22-2020); Second
Declaration of Erick G. Kaardal; Order (Filed 12-22-2020); Civil Cover Sheet; Plaintiffs' Memorandum in
Support of Motion for Preliminary Injunctive Relief; Complaint; Flash Drive Containing Declaration Appendix
to Reginald Rowan as Authorized Agent & Legal Executive Specialist at 501 3rd St., NW, 4th Fl. ; Washington,
DC 20001 of the government agency and informing that person of the contents of the documents.

Description of Person Accepting Service:
Sex: Male Age: 30-50 Height: Over 6ft Weight: Over 200 Ibs Skin Color: Light Brown Hair Color: Black

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

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/ WW,

Cora Heishman
ProcesServer

  

Twin City Process Service, LLC
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Case 1:20-cv-03791-JEB Document 12 Filed 01/05/21 Page 3 of4

AFFIDAVIT OF PROCESS SERVER

United States District Court for the District of Columbia

Wisconsin Voters Alliance, et al Attorney: Erick G. Kaardal
Plaintiff(s), Mohrman, Kaardal & Erickson, P.A.
VS 150 South Sth St., #3100

Minneapolis MN 55402

WLAN

Defendant(s). *260922%

Vice President Michael Richard Pence, in his official
capacity as President of the United States Senate, et al

 

 

 

 

Case Number: 1:20-cv-03791-JEB

Legal documents received by Twin City Process Service, LLC on 12/23/2020 at 2:52 PM to be served upon United
States Attorney for the District of Columbia, at 501 3rd St., NW, 4th FL, Washington, DC, 20001

1, Cora Heishman, swear and affirm that on December 23, 2020 at 4:25 PM, I did the following:

Served United States Attorney for the District of Columbia, a government agency by delivering a conformed copy
of this Letter dated December 22, 2020; Summons in a Civil Action; Motion; Notice of Hearing; Declaration of
Erick G. Kaardal; Order (Filed 12-22-2020); Second Declaration of Erick G. Kaardal; Order (Filed 12-22-2020);
Civil Cover Sheet; Plaintiffs’ Memorandum in Support of Motion for Preliminary Injunctive Relief; Complaint;
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I declare under penalty of perjury that the foregoing information contained in this affidavit is rue and correct and that I
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Cora Heishman
Process Server

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Case 1:20-cv-03791-JEB Document 12 Filed 01/05/21 Page 4of4

United States District Court for the District of Columbia

Wisconsin Voters Alliance, et al Attorney: Erick G. Kaardal
Plaintiff(s), Mohrman, Kaardal & Erickson, P.A.
vs. {50 South Sth St., #3100

Minneapolis MN 55402
Vice President Michael Richard Pence, in his official

capacity as President of the United States Senate, et al lI | | | li | | | | | ll

Defendant(s). #260921%

 

 

 

 

 

 

 

 

Case Number: 1:20-cv-03791-JEB

Legal documents received by Twin City Process Service, LLC on 12/23/2020 at 2:52 PM to be served upon Electoral
College, by serving United States Attorney for the District of Columbia, at 501 3rd St., NW, 4th FL, Washington,
DC, 20001

I, Cora Heishman, swear and affirm that on December 23, 2020 at 4:25 PM, I did the following:

Served Electoral College, by serving United States Attorney for the District of Columbia, a government agency
by delivering a conformed copy of this Letter dated December 22, 2020; Summons in a Civil Action; Motion;
Notice of Hearing; Declaration of Erick G. Kaardal; Order (Filed 12-22-2020); Second Declaration of Erick G.
Kaardal; Order (Filed 12-22-2020); Civil Cover Sheet; Plaintiffs’ Memorandum in Support of Motion for
Preliminary Injunctive Relief; Complaint; Flash Drive Containing Declaration Appendix to Reginald Rowan as
Authorized Agent & Legal Executive Specialist at 501 3rd St., NW, 4th Fl. , Washington, DC 20001 of the
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Cora Heishman
Process Server

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